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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
__________________________________
                                       :
Andrew Venditti,                       :
                                       :
                  Plaintiff,           : Civil Action No.: 10-cv-01861
                                       :
      v.                               :
                                       :
Wilton, Weinberg & Reis Co., LPA ; and :
DOES 1-10, inclusive,                  :
                                       :
                  Defendant.           :
__________________________________ :
                                       :

                           STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the

issues alleged in the complaint in this action, and have negotiated in good faith

for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or

incompetent person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue

the litigation;

IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or

their respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the

above-captioned action is hereby discontinued against Defendants Weltman,

Weinberg & Reis Co., LPA with prejudice and without costs to any party.
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Andrew Venditti                   Weltman, Weinberg, Reis Co., LPA

__/s/ Sergei Lemberg_________     __/s/ Doreen Merita Abdullovski__

Sergei Lemberg, Esq. (Juris No.   Doreen Merita Abdullovski
425027)                           WELTMAN, WEINBERG & REIS CO.,
LEMBERG & ASSOCIATES              L.P.A.
1100 Summer Street, 3rd Floor     323 West Lakeside Avenue, Suite
Stamford, CT 06905                200
(203) 653-2250                    Cleveland, OH 44113
Attorney for Plaintiff            216-739-5646
                                  Attorney for Defendant


_____________________________
SO ORDERED




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                           CERTIFICATE OF SERVICE

      I hereby certify that on April 21, 2011, a true and correct copy of the
foregoing Stipulation of Dismissal was served electronically by the U.S. District
Court for the District of Connecticut Electronic Document Filing System (ECF)
and that the document is available on the ECF system.

                                      By_/s/ Sergei Lemberg_________
                                          Sergei Lemberg
